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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA


    Jaszmann Espinoza, Seleta Stanton;         )
    Tiffany Thompson; Douganna                 )
    Ballard; and Janice Bailey, and all        )
    persons similarly situated                 )
                                               )   CIVIL ACTION FILE
    Plaintiffs,                                )   NO.______________
                                               )
           v.                                  )
                                               )
    Galardi South Enterprises, Inc.,           )
    Galardi South Enterprises,                 )    JURY TRIAL DEMANDED
    Consulting, Inc.; Fly Low, Inc.,           )
    d/b/a King of Diamonds;                    )    CLASS ACTION
    Teri Galardi, Michael Kapp, and            )
    Dennis Williams,                           )
                                               )
    Defendants.                                /

                                      COMPLAINT

            NOW COMES Jaszmann Espinoza, Seleta Stanton, Tiffany

    Thompson, Douganna Ballard, and Janice Bailey, on behalf of themselves

    and all persons similarly situated       (hereinafter “Plaintiffs”), and hereby

    submit this 29 U.S.C. Sec. 216(b) collective action and Fed. R. Civ. P. 23

    class action under Fl. St. 448.110,        against Defendants   Galardi South

    Enterprises, Inc., Galardi South Enterprise Consulting, Inc., Fly Low, Inc.;

    Teri        Galardi,   Michael   Kapp,   and   Dennis   Williams   (hereinafter

    "Defendants") and respectfully show the Court the following:
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                                 INTRODUCTION

                                         1.

          In a nearly identical action, CLINCY, et al. v. GALARDI SOUTH

    ENTERPRISES, INC. d/b/a the Onyx, et al., 808 F. Supp. 2d 1326 (N.D.

    Ga. 2011), the Galardi Defendants entered into a one million six hundred

    thousand dollar ($1,600,000) consent judgment after the entry of summary

    judgment in favor of the Plaintiff dancers-entertainers employed by them at

    one of their nightclubs in Atlanta, Ga. Nevertheless, rather than coming into

    compliance with the Fair Labor Standards Act, Defendants continue to

    refuse to   pay the minimum wages and overtime compensation to the

    dancers-entertainers   they employ at other clubs, including King Of

    Diamonds.

                                         2.

          Teri Galardi is the controlling shareholder and CEO of the corporate

    Galardi Defendants, which operate approximately 8 strip clubs located in

    Miami, Atlanta, Las Vegas and other cities (hereinafter referred to as

    "Enterprise Clubs"). Pursuant to an across the board, corporate-wide policy

    dictated and enforced by Defendants Teri Galardi, Kapp, and Williams, all

    Enterprise clubs refuse to pay dancers-entertainers minimum wage and

    earned overtime, by mischaracterizing them as "independent contractors."


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    In fact, not only did Defendants fail to pay their dancers-entertainers a single

    penny in wages, they required the Plaintiffs and all others similarly situated

    to pay them for the privilege of working.

                                           3.

          Defendants’ failure to pay the minimum wage and overtime wages to

    Plaintiff and all others similarly situated persons, as        detailed herein,

    violated 29 U.S.C. §§ 206 and 207 of the Fair Labor Standards Act, 29

    U.S.C. § 201 et. seq. (“FLSA”), and Article X, Section 24 of Florida's

    Constitution, and the Florida Minimum Wage Act [“FMWA”], Fl. Stat.

    §448.110.

                                           4.

          The named Plaintiffs, as Class Representatives, bring this Florida

    Rule 23 Class Action on behalf of herself and all members of the proposed

    Florida Rule 23 class to remedy violations of Florida state law, including but

    not limited to Fla. Stat. 448.110, and as a collective action to remedy

    violations of the FLSA.

                                                5.

          There are numerous similarly situated current and former employees

    of Defendants who were compensated improperly in violation of the FLSA

    and Florida law, and who would benefit from the issuance of a Court


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    Supervised Notice of the instant lawsuit and the opportunity to join in the

    FLSA claims asserted herein. Upon information and belief there are more

    than 1000 potential Plaintiffs. More precise information on class size will be

    obtained during discovery.

                                          6.

          Former and current similarly situated employees are known to

    Defendants, are readily identifiable by Defendants, and can be located

    through Defendant’s records.

                                          7.

          Therefore, Plaintiffs should be permitted to bring this action as a

    Collective action for and on behalf of themselves and those similarly

    situated current and former employees of Defendants, pursuant to the “opt-

    in” provisions of the FLSA, 29 U.S.C. § 216(b), and should be permitted to

    act as the Rule 23 Class Representative with respect to the claims pressed

    under the FMWA.

                                          8.

          As a result of Defendants violation of the FLSA, Plaintiffs and all

    others similarly situated seek minimum and overtime wages, restitution of

    all fees, fines and other payments Plaintiffs were required to pay to

    Defendants to work,    liquidated damages, interest, and attorneys’ fees and


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    costs pursuant to 29 U.S.C. § 216 for the period commencing three (3) years

    prior to the filing of this Complaint.

                                       PARTIES AND SERVICE

                                                         9.

             Each of the named Plaintiffs were previously employed by the

    Defendants as dancers-entertainers at the nightclub known as "King of

    Diamonds" located at 17800 NE Fifth Avenue, Miami, Fla., 33160.

    Plaintiffs submit herewith their written consents to participate as a Plaintiff

    in this action.1

                                                        10.

             Defendant Galardi South Enterprises, Inc. ("GSEI") is a Georgia for

    profit Corporation with its principal place of business located at 1730

    Northeast Expressway, Suite 200 Atlanta, GA 30329. GSEI is present in and

    either directly or through its agents, does substantial business in the State of

    Florida. GSEI is an "employer" or "joint employer" within the meaning of

    the Fair Labor Standards Act. GSEI Defendant may be served with a copy of

    the summons and complaint by leaving a copy with its registered agent for

    service Mr. Dennis Williams, located at 2555 Chantilly Drive, Atlanta, GA

    1
     The named Plaintiffs' consent forms are submitted herewith as Exhibit "1". However, each of the named
    plaintiffs previously "opted in" to another action currently pending in the Northern District of Georgia, but
    withdrew from that action effective March 8, 2014. The consent forms previously filed by the Plaintiffs
    in that action are submitted herewith as Exhibit "2"


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    30324.

                                         11.

          Defendant Galardi South Enterprises Consulting, Inc. ("GSECI") is a

    Georgia for profit Corporation with its principal place of business located at

    2555 Chantilly Drive, Atlanta, GA 30324. GSECI is present in and either

    directly or through its agents, does substantial business in the State of

    Florida. GSECI is an "employer" or "joint employer" within the meaning of

    the Fair Labor Standards Act. GSECI may be served with a copy of the

    summons and complaint by leaving a copy with its registered agent for

    service Mr. Dennis Williams, Esquire located at 2555 Chantilly Drive,

    Atlanta, GA 30324.

                                         12.

          Upon information and belief, Defendants GSEI and GSECI

    collectively and in conjunction with Defendants Galardi, Kapp, and

    Williams, own, direct, control and manage Fly Low, Inc.,       through which

    GSEI and GSECI (and Defendants Galardi, Kapp, and Williams) own,

    direct, control and manage operations at King of Diamonds.

                                         13.

          Fly Low, Inc. ("Fly Low") is a Florida Corporation doing business in

    the State of State of Florida. Upon information and belief, Fly Low is the


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    shell corporation through which GSEI and GSEIC (and Defendants Galardi,

    Kapp and Williams) own, direct, control and manage operations at King of

    Diamonds. Fly Low        is an "employer" or "joint employer" within the

    meaning of the Fair Labor Standards Act. Fly Low may be served with

    process through its registered agent for service, Patricia Burnside, 2455

    Hollywood Boulevard, Suite 311, Hollywood, Fla., 33020.

                                        14.

          Defendant Terri Galardi ("Galardi) is a natural person.          Upon

    information and belief, Galardi is the controlling shareholder and exerts day

    to day operational and management control over GSEI and GSECI, through

    which she exerts day to day operational and management control over Fly

    Low, including day to day operations at King of Diamonds. Galardi is

    frequently present in, and does substantial business in the State of Florida.

    Galardi may be served with process at her business address of 1730 N.E.

    Expressway, Suite 200, Atlanta, Ga., 30329.

                                        15.

          Defendant Michael Kapp ("Kapp") is a natural person and the Chief

    Operating Officer of co-Defendant GSECI.        On information and belief,

    Kapp exerts day to day operational and management control over GSEI and

    GSECI, through which he exerts day to day operational and management


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    control over Fly Low, including day to day operations at King of Diamonds.

    Kapp is frequently present in, and does substantial business in the State of

    Florida. Kapp may be served with process at his business address of 1730

    N.E. Expressway, Atlanta, Ga., Suite 200, Atlanta, Ga., 30329.

                                         16.

          Defendant Dennis Williams is a natural person and is the Secretary of

    co-Defendant GSEI. On information and belief Defendant Williams exerts

    day to day operational and management control over GSEI and GSECI,

    through which he exerts day to day operational and management control

    over Fly Low, including day to day operations at King of Diamonds.

    Williams is frequently present in, and does substantial business in the State

    of Florida. Williams may be served with process at his business location of

    1730 N.E. Expressway, Suite 200, Atlanta, Ga., 30329.

                          JURISDICTION AND VENUE

                                         17.

          This Court has subject matter jurisdiction over federal questions

    raised under the FLSA pursuant to 28 U.S.C.S. §§ 1331 and 1332, and

    jurisdiction over the state law claims pursuant to 28 U.S.C. 1367.

                                         18.




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          Venue is proper in the Southern District of Florida, under 28 U.S.C.

    §1391(b), because Defendants reside in this judicial district and/or because

    they do substantial business in this judicial district, and the court possesses

    personal jurisdiction over all Defendants. Venue in the Southern District of

    Florida is also proper because a substantial part of the events or omissions

    giving rise to the claim occurred in the Southern District of Florida.

                              FACTUAL ALLEGATIONS

                                          19.

          The named Defendants in this action, together with             the other

    Enterprise Clubs, constitute an “enterprise” ("the Enterprise") within the

    meaning of the FLSA, because they act collaboratively and in concert to

    perform related activities for a common business purpose, within the

    meaning of 29 U.S.C. §203(r)(1) and 29 C.F.R., §1620.7.

                                          20.

          The Enterprises’ gross annual volume of sales made or business done

    is not less than $500,000. Defendants also operate in interstate commerce,

    by selling liquor at their clubs which has traveled in interstate commerce.

    Moreover, because of Defendants’ interrelated activities, they function in

    interstate commerce.

                                          21.

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          At all times during the five years prior to the filing of this

    action, Defendants categorized all dancers/entertainers employed at all

    Enterprise clubs as “independent contractors” and have failed and

    refused    to    pay    any   wages          or   compensation   to   such

    dancers/entertainers.

                                          22.

          At all times relevant to this action, Defendants exercised a great

    degree of operational and management control over all Enterprise

    clubs, particularly in the area of terms and conditions of employment

    applicable to dancers/entertainers.

                                            23.

          The primary job duties of the named Plaintiffs and all other

    Enterprise dancers/entertainers consisted primarily of dancing on stage

    during the stage rotation, performing personal dances (also called “lap

    dances” or “private dances”) for customers, and spending time in semi-

    private rooms.

                                          24.

          Pursuant to the directions of the Defendants and/or their agents,

    Defendants require entertainers to audition in order to be hired;

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    however, an entertainer’s physical appearance and not any level of

    dance, performance, or sales skill determines here suitability to perform

    at Defendants’ clubs. Indeed, no prior experience or training is required

    to be hired as a dancer-entertainer.

                                          25.

          At all times relevant to this action Plaintiffs (and all Enterprise

    dancers-entertainers) were subject to corporate-wide, uniform written rules,

    guidelines and policies which were established by Defendants and agents

    acting on their behalves, which rules, guidelines and policies governed

    entertainers conduct at all Enterprise clubs.

                                          26.

          Defendants, directly and through their agents, required Plaintiffs

    and those similarly situated to dance on stage and according to a stage

    rotation established by Defendants or their agents, including the disk

    jockey (“DJ”). Pursuant to policies established by the Defendants

    and/or their agents, Entertainers at all RCII clubs performed at

    Defendants’ clubs, using Defendants’ stages and semi-private rooms.

                                          27.




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            Pursuant to requirements established by Defendants and/or their

    agents, entertainers were put into the stage rotation and were required

    to dance at the time their name was called. Each stage dance was

    required to last for a specified number of songs. Entertainers were told

    how much clothing to remove during each song, i.e., top only during

    the first song, and then all clothing, save a G-String, during the second

    song.

                                        28.

            At all times during the five years prior to the filing of this

    action, Defendants directly or through their agents required all of their

    dancers/entertainers to dance at specified times and in a specified

    manner on stage and off stage.

                                        29.

            Plaintiffs and all those similarly situated were not allowed by the

    Defendants and/or their agents to choose the songs that were played

    while they danced.

                                        30.

            Defendants and/or their agents set the price of personal dances.

    The price for a personal dance was the same regardless of which

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    entertainer performed the dance. Plaintiffs, and persons similarly

    situated, were not allowed to charge a different price than the price

    established by Defendants. Plaintiffs were not allowed to choose the

    song that played during personal dances.

                                       31.

          Plaintiffs and all other dancers/entertainers at all Enterprise clubs

    were required by Defendants and/or their agents to charge customers

    and amount specified by Defendants.

                                       32.

          Pursuant to requirements imposed by the Defendants and/or their

    agents, Plaintiffs and all other dancers/entertainers at all Enterprise

    clubs spent time in private rooms with customers. The price paid for

    time in a private room was set by Defendants and was the same

    regardless of which entertainer was spending time in the private room

    with the customer(s).



                                       33.

          Pursuant to the direction of the Defendants and/or their agents,

    Plaintiffs and all other dancers/entertainers at all Enterprise clubs were

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    required to show up for work at a specific time, and to make up a

    schedule in advance. If they came to work late, they were charged a

    fee.

                                           34.

           At all times pertinent to this action, Defendants have regulated

    entertainers’ attire and interactions with customers.

                                           35.

           Defendants have required entertainers to attend meetings at

    Defendants’ business for which they receive no compensation whatever.

                                          36.

           Pursuant to the directions of the Defendants and/or their agents,

    entertainers were required to pay a shift fee each night they worked,

    unless the fee was waived for some reason, Defendants, through their

    agents (and not entertainers), made the decision about a fee would be

    waived on a given night

                                          37.

           In addition to the shift fees, pursuant to the directions of the

    Defendants     and/or    their    agents,     Plaintiffs   and   all   other

    dancers/entertainers at the King of Diamonds were also required to pay


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    the DJ a monetary fee each night that they worked, in addition to "tip-

    out" or "bar fees".

                                           38.

          If entertainers are late for work, fail to appear for a scheduled shift, or

    are deemed to have violated any of the club’s rules, they are charged

    additional fees or fines

                                             39.

          Named Plaintiffs and the class of persons they seek to represent have

    been subject to a variety of these fees and fines during the last three years.

                                             40.

          The fees and fines described in ¶¶36-39 constitute unlawful

    “kickbacks” to the employer within the meaning of the Fair Labor Standards

    Act, and Plaintiffs are entitled to restitution of all such fees and fines.

                                             41.

          Defendants have financed all advertising and marketing efforts

    undertaken on behalf of the club.

                                             42.

          Defendants have made capital investments in the facilities,

    maintenance, sound system, lights, food, beverage and inventory. Plaintiffs

    did not contribute money towards maintaining Defendants’ club

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    premises or otherwise provide facilities at the club.

                                          43.

          Defendants have required and made all hiring decisions regarding

    waitstaff, security, entertainer, managerial and all other employees at the

    night clubs.

                                        44.

          Plaintiffs and all other dancers/entertainers     were dependent on

    customers’ tips, making their opportunity for profit or loss a function of

    how much money customers have and are willing to spend and how

    much Defendants required to pay in order to work.

                                        45.

          Defendants’ primary business purpose is to make money; they do

    so by attracting customers who wish to see women nude or in various

    stages of undress. The services performed by dancers-entertainers is

    integral to the success of all Enterprise clubs.

                                        46.

          Pursuant to the directions of the Defendants and/or their agents,

    entertainers at all Enterprise clubs were not allowed to hire

    subcontractors to perform their duties for them. The right to dance as an

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    entertainer at Defendants’ clubs was a personal right, and only people

    hired by Defendants’ managerial staff were allowed to perform at

    Defendants’ clubs.

                                          47.

          Named Plaintiffs and persons similarly situated worked over forty

    hours in some weeks each worked for Defendants.

                                           48.

          Named Plaintiffs and all others similarly situated were also required to

    attend mandatory meetings at Defendants’ place of business, but were not

    paid for their attendance at those meetings.

                                           49.

          Defendants have never paid Plaintiffs and all others similarly situated

    any amount as wages whatsoever, and have instead unlawfully required

    Plaintiffs to pay them for the privilege of working.

                                           50.

          The only source of monies received by Plaintiffs (and the class they

    seek to represent) relative to their employment with Defendants came in the

    form of gratuities received directly from customers, a portion of which they

    were required to pay to Defendants.



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                                           51.

          Because Defendants did not pay Plaintiffs and all other similarly

    situated any wages whatsoever, Defendants did not pay Plaintiffs and all

    other similarly situated one-and-a-half times their regular rate of pay when

    Plaintiffs and others similarly situated worked over forty hours in a given

    workweek.

                                           52.

          As noted above this is the second suit over FLSA minimum wage and

    overtime violations against the Galardi corporate          Defendants, and

    Defendants knew, or showed reckless disregard for the fact that they

    misclassified these individuals as independent contractors, and accordingly

    failed to pay these individuals the minimum wage and failed to pay overtime

    at the required rate under the FLSA

                                          53.

          On information and belief Defendants failed to maintain records of the

    number of hours worked by Plaintiffs and others similarly situated.

       COLLECTIVE ACTION ALLEGATIONS—29 U.S.C. §216(b)




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                                      54.

          The named Plaintiff submits herewith a previously filed Consent

    To Sue forms explicitly consenting to participate in this action as a

    Plaintiff.

                                      55.

          The named Plaintiffs and all dancers/entertainers who worked at

    any other Enterprise club performed precisely the same job duties—

    dancing and entertaining at Enterprise clubs.

                                      56.

          The named Plaintiffs and all other dancers/entertainers who

    worked at Enterprise clubs, including King of Diamonds during the

    applicable limitations period(s) were subject to the same work rules

    established by the Defendants as identified above.

                                      57.

          The named Plaintiff     and all other dancers/entertainers at all

    Enterprise clubs     were subject to the terms and conditions of

    employment and the same degree of control, direction, supervision,

    promotion and investment imposed or performed by Defendants



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                                       58.

          The named Plaintiff and all other dancers/entertainers at King of

    Diamonds during the applicable limitations period(s), were subject to

    the same across-the-board, uniformly applied corporate policy

    mandated by Defendants.

                                       59.

          The named Plaintiff s and all other dancers/entertainers at King

    of Diamonds during the applicable limitations period, were subject to

    the same fees and fines imposed by Defendants.

                                       60.

          As a result of Defendants’ across-the-board, standard operating

    procedure of mischaracterizing dancers/entertainers as “independent

    contractors”    and their consequent failure to pay any wages or

    compensation whatever, it is a certainty that numerous other current

    and former dancers and entertainers who worked at King of Diamonds

    during the applicable limitations period would elect to participate in

    this action if provided notice of same.




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                                           61.

             Upon information and belief, more than 1000 dancers and

    entertainers have worked at King of Diamonds during the three-five

    years prior to the filing of this action

                                           62.

             Named Plaintiffs are “similarly situated” to the §216(b) class of

    persons they seek to represent, and will adequately represent the

    interests of the class.

                                           63.

             Named Plaintiffs have hired Counsel experienced in collective

    actions under 29 U.S.C. §216(b) who will adequately represent the

    class.

                   RULE 23 CLASS ACTION ALLEGATIONS

                                           64.

             Plaintiffs seek certification of a class comprised of all persons who,

    during the five year period prior to the filing of this action, were employed

    as dancers or entertainers at King of Diamonds.




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                                         65.

          Upon information and belief, the number of persons who comprise

    the class exceeds 1000.

                                         66.

          All questions of law and fact implicated in this action are common to

    the named Plaintiffs and the classes of persons she seeks to represent.

                                         67.

          The claims of the named Plaintiffs are typical of—identical to—the

    claims of the classes of persons they seek to represent.

                                         68.

          The named representative Plaintiffs        will fairly and adequately

    represent the interests of the classes of persons they seeks to represent and

    they have   engaged capable counsel experienced in litigating class claims,

    multiple plaintiff claims, and litigating complex civil actions.

                                         69.

          The prosecution of separate actions by individual members of the

    proposed Subclasses would create a risk of adjudications with respect to

    individual members of the class which would as a practical matter be

    dispositive of the interests of other class members not parties to the




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    adjudications or substantially impair or impede their ability to protect their

    interests.

                                          70.

           Defendants have acted or refused to act----via application of an

    across-the-board unlawful policy of failing to pay minimum wage---on

    grounds generally applicable to the proposed Subclasses (i.e., misclassifying

    each and every dancer at all Enterprise clubs as “independent contractors”,

    thereby making appropriate final injunctive relief and/or corresponding

    declaratory relief with respect to the class as a whole.

                                          71.

           The interests of individual members of the class         in individually

    controlling the prosecution of potential individual claims are minimal,

    particularly in light of statute of limitations and exhaustion of administrative

    remedies defenses that would or might be interposed in any such action, and

    which would not be applicable should this action be certified as a class

    action.

                                          72.

           No    particular   difficulties are likely to be encountered in the

    management of this case due to it being afforded class action status.




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                                           73.

          All questions presented in this case----of law and fact—are common

    to the members of the proposed class and predominate over any questions

    affecting only individual members of the class.

                                           74.

          The relief necessary to remedy the wrongs visited upon the named

    Plaintiffs is the same as that necessary to remedy the claims of the class

    each Subclass. Plaintiffs seek, on behalf of themselves and the members of

    proposed class the following relief:

          (a)   a declaratory judgment that Defendants have unlawfully

                misclassified dancers/entertainers who worked at King of

                Diamonds as independent contractors and have thereby denied

                them the minimum wages to which they are entitled under the

                FMWA

          (b)   payment of the applicable minimum wage under Florida Law

                for all hours dancers/entertainers worked at King of Diamonds

                into a common fund;

          c)    payment of an amount equal to item(b) as liquidated damages

                into a common fund;




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          (d)    mandatory injunctive relief requiring defendants to pay

                 dancers/entertainers employed at King of Diamonds the

                 minimum wages specified in the FMWA;

          (e)    costs of this litigation and an award of attorney’s fees.

          (f)    restitution of all fees and fines exacted by the Defendants;

                                           75.

          A class action is superior to other available methods for the fair and

    efficient adjudication of the controversy.

                                  COUNT I
                           DECLARATORY JUDGMENT

                                            76.

          Plaintiffs repeat and reallege the allegations in the preceding

    paragraphs of this Complaint, and incorporate the same herein by this

    specific reference as though set forth herein in full.

                                            77.

            This claim is an action for Declaratory Judgment brought pursuant

    to the provisions of 28 U.S.C. § 2201 et seq.

                                            78.

            An actual controversy exists between the parties in this case in

    regard to the employment status of the Plaintiffs and all others similarly



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    situated, though Plaintiffs deny that there exists legal or factual support for

    the position taken by the Defendants.

                                              79.

              Plaintiffs and all others similarly situated seek declaratory relief with

    respect to the legal relations of the parties arising from this controversy and

    their respective rights and responsibilities under the FLSA, to wit, whether

    Plaintiffs and all others similarly situated are or were the employees of

    Defendants.

                          COUNT II
           MINIMUM WAGE CLAIMS (Violation of 29 U.S.C. §206)

                                            80.

          Plaintiffs repeat and reallege the allegations in the preceding

    paragraphs of this Complaint, and incorporate the same herein by this

    specific reference as though set forth herein in full.

                                            81.

          Defendants are or were the “employers” of the Plaintiffs             and all

    others similarly situated within the meaning of the FLSA, 29 U.S.C. §

    203(d).

                                            82.

          Defendants are engaged in “commerce” and/or in the production of

    “goods” for “commerce.”
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                                          83.

          Defendants operate an enterprise engaged in commerce within the

    meaning of the FLSA, 29 U.S.C. § 203(s)(1), because they have employees

    engaged in commerce, and because its annual gross volume of sales made is

    more than $500,000.

                                          84.

          Plaintiffs have previously explicitly consented to sue in this action

    pursuant to 29 U.S.C. § 216(b). A consent to sue executed by Plaintiff is

    submitted herewith.

                                          85.

          Defendants misclassified Plaintiffs and all others similarly situated

    persons as independent contractors.

                                          86.

          Defendants failed to pay Plaintiffs and all others similarly situated the

    minimum wage in violation of 29 U.S.C. § 206

                                          87.

          Based upon the conduct alleged herein, Defendants knowingly,

    intentionally and willfully violated the FLSA by not paying Plaintiffs and all

    others similarly situated the minimum wage under the FLSA




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                                           88.

          Defendants’ actions complained of herein were not done in good faith

    reliance on any ruling or determination made by the U.S. Department of

    Labor.

                                           89.

          Due to Defendants’ FLSA violations, Plaintiffs and all others

    similarly situated are entitled to recover from Defendants all fees fines and

    other payments made by the Plaintiffs to the Defendants, minimum wage

    compensation of $7.25 per hour, and an equal amount in the form of

    liquidated damages, as well as reasonable attorneys’ fees and costs of the

    action, including interest, pursuant to 29 U.S.C. § 216(b), all in an amount to

    be determined at trial.

                            COUNT III
             FLORIDA MINIMUM WAGE ACT CLAIMS (FMWA)

                                           90.

          Plaintiffs repeat     and reallege the allegations in the preceding

    paragraphs of this Complaint, and incorporates the same herein by this

    specific reference as though set forth herein in full.

                                           91.

          Defendants failure and refusal to pay the minimum wages required

    under Florida law to the Plaintiff and the class she seeks to represent
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    constitutes a willful     violation of FMWA,             Art. X. Section 24 FL

    Constitution and §448.110 Fla. Stat. Plaintiffs have satisfied all conditions

    precedent to the filing of this action.

                                              92.

             Plaintiffs and the class they seek to represent are therefore entitled

    to recover the applicable minimum hourly rate specified under Florida law

    for each hour worked during the five years preceding the filing of this

    action, restitution of fees and fines unlawfully exacted from them by the

    Defendants,      plus liquidated damages and attorney’s fees and costs of

    litigation.

                               COUNT IV
                  OVERTIME CLAIMS (Violation of 29 U.S.C. § 207)

                                              93.

           Plaintiffs repeat and reallege the allegations in the preceding

    paragraphs of this Complaint, and incorporate the same herein by this

    specific reference as though set forth herein in full.

                                              94.

           Defendants are or were the “employer” or joint-employers            and

    employ(ed), and Plaintiffs were the              “employees” those "employers"

    within the meaning of the FLSA, 29 U.S.C. § 203(d).



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                                          95.

           Defendants are engaged in “commerce” and/or in the production of

    “goods” for “commerce.”

                                          96.

           Defendants are an enterprise engaged in commerce within the

    meaning of the FLSA, 29 U.S.C. § 203(s)(1), because they have employees

    engaged in commerce, and because their annual gross volume of sales made

    is more than $500,000.

                                          97.

           Plaintiffs consent to sue in this action pursuant to 29 U.S.C. § 216(b).

    Written Consents to sue executed by each Plaintiff are submitted herewith or

    already have been submitted to the Court.

                                          98.

           Defendants misclassified Plaintiffs and all others similarly situated as

    an independent contractors.

                                          99.

           Defendants failed to pay Plaintiffs and all others similarly situated

    wages at a rate of one and one-half (1 ½) times her regular rate, for hours

    worked in excess of forty (40) hours per week, in violation of 29 U.S.C. §

    207.


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                                             100.

            Defendants knowingly, intentionally and willfully violated the FLSA.

                                             101.

            Defendants'   mischaracterization      of   Plaintiffs   as   "independent

    contractors", with the consequence of having failed to pay them premium

    overtime compensation for hours worked in excess of 40 per work week,

    constitutes a willful violation of the FLSA, and Defendants did not rely on

    any determinations or rulings of the U.S. Department of Labor in utilizing

    same.

                                             102.

            Due to Defendants’ FLSA violations, Plaintiffs and all others

    similarly situated are entitled to recover from Defendant, unpaid overtime

    compensation and an equal amount in the form of liquidated damages, as

    well as reasonable attorneys’ fees and costs of the action, including interest,

    pursuant to 29 U.S.C. § 216(b), all in an amount to be determined at trial.

                             DEMAND FOR JURY TRIAL

                                             103.

            Plaintiffs, on behalf of themselves and all others similarly situated

    individuals, demand a trial by jury on all their claims so triable.


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          WHEREFORE, Plaintiff respectfully prays that this Court grant

    relief as follows:

          1)     trial by jury as to all issues of fact;

          2)     that Plaintiffs’ FLSA claims be certified and proceed as a
                 collective action, pursuant to 29 U.S.C. §216(b), and as to the
                 State law claims, pursuant to Fed. R. Civ. P. 23;

          3)     As to Counts I, II, and IV, that the Court direct that appropriate
                 notice of Plaintiffs’ FLSA action be sent to all persons
                 employed as dancers at the King of Diamonds during the three
                 years preceding the filing of this action;

          4)     As to Count III, that the Court direct that appropriate notice of
                 the proposed class FMWA claims be sent to all persons
                 employed as dancers at King of Diamond’s during the 5 years
                 prior to the filing of this action6)

          5)     As to Count I, a declaratory judgment that for purposes of the
                 FLSA and the FMWA(i) Plaintiffs and all others similarly
                 situated are or were "employees" and were not "independent
                 contracts"; (ii) Defendants are or were Plaintiffs' "employers"
                 or "joint employer"; and (iii) the practices complained of
                 herein are unlawful under the FLSA;

          6)     As to Count II, an award to the Plaintiffs and all others
                 similarly situated for the minimum wage specified under the
                 FLSA for all hours worked by the Plaintiffs during the three
                 years preceding their having "opted-in" until the date of
                 judgment, as well as restitution of all fees, fines, and charges
                 paid to the Defendants by the Plaintiffs, liquidated damages,
                 interest and attorney’s fees as provided for under the FLSA;

          7)     As to Count III, an award to the Plaintiffs and all others
                 similarly situated for the minimum wage specified under
                 Florida law for all hours worked by the Plaintiffs during the last
                 five years, as well restitution of all fees, fines, and charges
                 paid to the Defendants by the Plaintiffs, liquidated damages,
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                interest and attorney’s fees as provided for under the FLSA and
                the FMWA;

          8)    As to Count IV, award Plaintiffs and all others similarly
                situated judgment for lost overtime compensation calculated at
                one-half times the regular rate that Plaintiffs would have
                received for each hour worked in excess of forty (40) in any
                given work week but for Defendants unlawful conduct, as well
                as liquidated damages, interest and attorney’s fees as provided
                for under the FLSA;

          10)   Such other and further relief as warranted by the facts and the
                law.

          Respectfully submitted this 4th day of April, 2014.

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